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  6
  7   Counsel for Plaintiff, Austin Dickey,
      individually and on behalf of all others
  8   similarly situated
  9
                            UNITED STATES DISTRICT COURT
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11
        AUSTIN DICKEY, individually and on             Case No. 18-cv-9052
 12     behalf of all others similarly situated,
 13                                                    CLASS ACTION COMPLAINT
                                     Plaintiffs,
 14              v.                                    JURY TRIAL DEMANDED
 15
        TICKETMASTER, LLC, a Virginia
 16
        Corporation; LIVE NATION
 17     ENTERTAINMENT, INC., a Delaware
        Corporation,
 18
                              Defendants.
 19
 20         Plaintiff AUSTIN DICKEY brings this action on behalf of herself and
 21   all others similarly situated against TICKETMASTER L.L.C. and LIVE
 22   NATION ENTERTAINMENT, INC. (collectively, “Defendants”). Plaintiff’s
 23   general allegations against Defendants are based upon information and belief
 24   and upon investigation by counsel for Plaintiff. Allegations specifically
 25   pertaining to Plaintiff are based upon her personal knowledge.
 26         I.        INTRODUCTION
 27         1.        Defendant Live Nation Entertainment, Inc. (“Live Nation”) is the
 28   largest live entertainment company in the world, boasting revenue of $10.4 billion

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  1   in 2017, $1.8 billion in cash, and $3.2 billion in total assets as of December 31,
  2   2017.1 The CEO of Live Nation, Michael Rapino (“Rapino”), made $70.6 million
  3   in compensation during 2017.2 Defendant Ticketmaster, Inc. (“Ticketmaster”) is a
  4   wholly owned subsidiary of Live Nation and claims to be the world’s largest ticket
  5   marketplace with more than 500 million annual ticket sales.3
  6         2.     Ticketmaster’s business model is premised on the myriad fees charged
  7   on each ticket sold, including: (1) a facility charge; (2) a convenience charge; (3)
  8   an order processing fee; (4) a ticket printing fee; and (5) a faculty fee. In total, the
  9   additional fees charged by Ticketmaster are typically $17.30 on a $30 ticket.4 This
 10   amounts to a 57% increase on the price of every ticket, the overwhelming majority
 11   of which goes directly to Ticketmaster and/or Live Nation.
 12         3.     The CEO of Live Nation, Rapino, described the fees Ticketmaster
 13   charges on each ticket as “not defendable” in internal emails the company fought
 14   in court to keep secret.5
 15         4.     Ticketmaster provides a platform to sells tickets to at face value, plus
 16   its various fees and charges, to the public (“primary ticket marketplace”).
 17   Ticketmaster also provides platforms for those tickets to be resold, with additional
 18   fees and charges, in what Ticketmaster deceptively describes as fan-to-fan
 19   transactions (“secondary ticket marketplace”).
 20         5.     In many instances Ticketmaster also takes a percentage of the original
 21   face values price “for its services” from the artists. It is a phenomenally profitable
 22   business because all these fees are lawfully charged to Ticketmaster’s customers.
 23
      1
        https://www.billboard.com/articles/business/8221386/live-nation-104-billion-
 24
      record-revenue-2017-q4-earnings-drop-report
 25   2
        https://newrepublic.com/article/148419/ticket-monopoly-worse-ever-thanks-
      obama
 26   3
        https://business.ticketmaster.com/our-story/
 27   4
        http://latimesblogs.latimes.com/music_blog/2010/08/ticketmaster-a-new-era-of-
      transperancy-or-smoke-mirrors-.html
 28   5
        Id.
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  1           6.     In addition to the exorbitant lawful fees Ticketmaster charges for each
  2   ticket sold, Defendants have concocted an elaborate and unlawful scheme to
  3   dramatically increase their profits at the direct financial and emotional expense of
  4   their customers.
  5           7.     In September 2018, the Toronto Star published a scathing exposé
  6   based on undercover investigations by its reporters which revealed that
  7   Ticketmaster is intentionally undermining is own business purpose in order to reap
  8   huge profits reselling the same tickets on its secondary ticket market.
  9           8.     First, Ticketmaster enables professional ticket re-sellers (“scalpers” or
 10   “ticket resellers”) to purchase large quantities of face value tickets before
 11   individual fans can access those tickets, using fictitious accounts and/or bypassing
 12   Ticketmaster’s per-person ticket purchasing limits. Then, in order to facilitate the
 13   re-selling of its tickets by scalpers on its secondary ticket marketplace,
 14   Ticketmaster created a web-based inventory-management system so those scalpers
 15   can upload large quantities of tickets purchased from Ticketmaster and
 16   immediately list them again for resale on Ticketmaster’s secondary marketplace
 17   where Ticketmaster often profits even more than it did on the original sale. Next,
 18   Ticketmaster created a multi-tiered scalper rewards program with financial
 19   incentives to reach $500,000 or $1 million in annual sales, bonuses for increasing
 20   year-to-year sales, and other financial incentives to violate California law and
 21   unjustly enrich Ticketmaster. Lastly, Ticketmaster has established one of the
 22   largest secondary ticket marketplaces in order to reap huge profits when the
 23   scalpers it supplies, encourages, and incentivizes sell real fans event tickets at
 24   enormous increases over the face value ticket price, plus all of Ticketmaster’s fees
 25   on both the original primary ticket market purchase as well as the fees
 26   Ticketmaster charges on the secondary ticket marketplace sales.
 27     II.        PARTIES
 28           8.     Plaintiff Austin Dickey is a resident of San Diego, California. Plaintiff

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  1   purchased tickets, originally sold by Ticketmaster, on the secondary market,
  2   specifically at www.ticketmaster.com/verified.
  3            9.     Ticketmaster L.L.C., is a Virginia corporation headquartered in
  4   Beverly Hills, California. Ticketmaster is the live-event ticket sales and
  5   distribution subsidiary of Live Nation Entertainment, Inc.
  6            10.    Live Nation Entertainment, Inc., is a Delaware corporation
  7   headquartered in Beverly Hills, California.
  8     III.        JURISDICTION AND VENUE
  9            11.    This Court has diversity jurisdiction over this action pursuant to 28
 10   U.S.C. § 1332(d), because the amount in controversy for the Class exceeds
 11   $5,000,000, and the Class includes members who are citizens of a different state
 12   than defendant.
 13            12.     This Court has personal jurisdiction over Defendants because their
 14   principal places of business are located in California.
 15            13.     Venue is proper in this Court under 28 U.S.C. § 1391(b), because
 16   Defendants sell tickets throughout the State of California, including in this judicial
 17   district.
 18     IV.         FACTUAL ALLEGATIONS
 19            14.     The reselling of tickets is a $5 billion industry in the United States.
 20            15.     Ticketmaster, the world’s largest primary market ticket seller, is also
 21   one of the biggest players in the secondary ticket marketplace.
 22            16.     Ticketmaster operates at least three secondary ticket marketplace
 23   platforms: (1) Ticketmaster.com/verified; (2) Ticketexchangebyticketmaster.com;
 24   and (3) Ticketsnow.com.
 25            17.     Ticketmaster has every financial incentive to sell tickets to people
 26   who will resell those tickets on Ticketmaster’s secondary exchange, as opposed to
 27   selling each ticket one time to a fan who intends to use that ticket to experience a
 28   concert of other live event.

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  1         18.     Ticketmaster more than doubles its profits if the same ticket can be
  2   sold twice; once from Ticketmaster on its primary ticket marketplace, with an
  3   estimated 57% markup in fees, and again from Ticketmaster on its secondary
  4   marketplace, where the markup is often higher.
  5         19.     For many events sold through Ticketmaster, the terms of purchase
  6   limit resale to Ticketmaster’s own resale exchanges.
  7         20.     Ticketmaster’s primary ticket marketplace explicitly represents to its
  8   customers and the public that it: (1) “specifically prohibits re-sellers from
  9   purchasing tickets that exceed the posted ticket limit for an event;” and (2)
 10   “prohibits the creation of fictitious user accounts for the purpose of circumventing
 11   ticket limit detection in order to amass tickets intended for resale.”
 12         21.     However, according to a recent Toronto Star and Canadian
 13   Broadcasting Corporation investigation, Ticketmaster specifically aided resellers
 14   purchasing tickets in excess of the posted ticket limit and facilitated the use of
 15   fictitious user accounts for the purpose of circumventing ticket limit detection in
 16   order to amass tickets intended for resale.6
 17         22.     Ticketmaster also created TradeDesk, a custom-designed and web-
 18   based inventory management, and point-of-sale system “built expressly for
 19   professional resellers” which allows scalpers to ‘sync’ hundreds of
 20   Ticketmaster.com accounts and instantly upload purchased event seats onto
 21   secondary ticket marketplace websites, including giving preferential treatment o
 22   professional resellers who sell tickets on Ticketmaster’s secondary ticket
 23   marketplace platforms.7
 24   6
        https://www.thestar.com/news/investigations/2018/09/19/we-went-undercover-as-
 25   ticket-scalpers-and-ticketmaster-offered-to-help-us-do-business.html;
      https://www.cbc.ca/news/business/a-public-relations-nightmare-ticketmaster-
 26
      recruits-pros-for-secret-scalper-program-1.4828535
      7
 27     https://www.documentcloud.org/documents/4901430-TMR-Professional-Reseller-
      Handbook-1-1.html (“Professional Reseller Handbook”), at 8.
 28
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  1             23.    Ticketmaster also created “Transfer” which is a TradeDesk feature
  2   that lets scalpers move any verified Ticketmaster ticket from one account to
  3   another.8
  4             24.    Upon information and belief, Ticketmaster provided automated
  5   programs to professional ticket resellers designed to help purchase tickets from
  6   Ticketmaster and immediately post those tickets to Ticketmaster’s own secondary
  7   exchange for resale, evidencing Ticketmaster’s use of its overwhelming primary
  8   ticket exchange market power to control the secondary ticket market as well.
  9             25.    Ticketmaster anti-competitive practices leverage its primary ticket
 10   exchange power to manipulate the secondary ticket exchange by expediting the
 11   issuance of final tickets with bar codes when tickets purchased on Ticketmaster’s
 12   primary exchange are offered for resale on Ticketmaster’s secondary exchange,
 13   and offering a significantly slower process when tickets are offered for resale on
 14   any other exchange.
 15             26.    Upon information and belief, Ticketmaster also punishes professional
 16   resellers who do not resell Ticketmaster’s tickets on Ticketmaster’s secondary
 17   exchange. Ticketmaster is believed to selectively assert legal and contractual rights
 18   and claims against resellers who do not use Ticketmaster’s reselling platforms in
 19   order to gain control of the secondary ticket market.
 20             27.    In other words, Ticketmaster makes it extremely easy and efficient
 21   for professional resellers to integrate hundreds of Ticketmaster accounts for
 22   purchase and resale – but only if those resales are on Ticketmaster’s secondary
 23   exchange. If a professional reseller buying tickets from Ticketmaster sells those
 24   tickets on a non-Ticketmaster secondary exchange that reseller, upon information
 25   and belief, is far more likely to have the ticket limit rules enforced. Ticketmaster’s
 26   overwhelmingly dominant market share of the primary ticket exchange means that
 27   a sanction or banishment from Ticketmaster is disastrous for any professional
 28   8
          Id., p. 9.
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  1   reseller and this forces the reseller’s interests to be directly in line with
  2   Ticketmaster’s interests. This selective enforcement is a powerful market
  3   manipulating tool powered by Ticketmaster’s market power.
  4            28.   Ticketmaster also incentivizes scalpers to purchase tickets in bulk
  5   through a series of rewards program with financial incentives, including a
  6   reduction in resell fees for $500,000 or $1 million in annual sales. There are also
  7   bonuses for increasing year-to-year sales and other financial incentives. The
  8   explicit representation to the public that Ticketmaster “prohibits re-sellers from
  9   purchasing tickets that exceed the posted ticket limit for an event” is contrary to the
 10   facts.
 11            29.   According to the Toronto Star investigation, Ticketmaster
 12   representatives, unaware they were speaking to undercover reporters, admitted to
 13   knowing that scalpers have “literally a couple hundred accounts” in order to buy in
 14   bulk from Ticketmaster and that Ticketmaster was not concerned if professional re-
 15   sellers are using automated software and fake identities to circumvent ticket-buying
 16   limits.9
 17            30.   Ticketmaster representatives also admitted that its secondary ticket
 18   marketplace platforms do not monitor or police users of its TradeDesk platform for
 19   conduct in violations of Ticketmaster policies.10 Ticketmaster representatives
 20   further admitted that Ticketmaster’s primary and secondary ticket marketplace
 21   platforms do not communicate regarding abuses of Ticketmaster’s primary ticket
 22   market platform which directly benefit Ticketmaster’s secondary ticket
 23   marketplace platform: “We don’t share reports, we don’t share names, we don’t
 24   share account information with the primary site. Period.”11
 25            31.   In other words, Ticketmaster knows that scalpers with hundreds of
 26   9
       https://www.cbc.ca/news/business/a-public-relations-nightmare-ticketmaster-
 27   recruits-pros-for-secret-scalper-program-1.4828535
      10
         Id.
 28   11
         Id.
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  1   ticket buying accounts – for the sole purpose of violating its policies – are using
  2   unlawful means to buy face value tickets from Ticketmaster and then using
  3   Ticketmaster’s TradeDesk and Transfer tools to instantly re-sell those tickets on
  4   Ticketmaster’s secondary ticket marketplace platforms at huge price increases to
  5   fans who did not use unlawful means and, thus, could not gain access to
  6   Ticketmaster’s original face value primary ticket market. Ticketmaster,
  7   meanwhile, is unlawfully profiting from both the primary and secondary ticket
  8   marketplace sales.
  9         32.     On September 21, 2018, U.S. Senators Jerry Moran (R-Kan.) and
 10   Richard Blumenthal (D-Conn.) sent a letter to Live Nation’s CEO regarding
 11   numerous allegations. Specifically, the Senators’ letter to Ticketmaster referenced
 12   reports that Ticketmaster:
                recruits and employs professional ticket scalpers to circumvent the
 13
                ticket purchasing limits on its own primary ticket sales platform
 14             in an effort to expand its ticket resale division and utilizes a
                professional reseller program called TradeDesk, which provides a
 15
                web-based inventory for scalpers to effectively purchase large
 16             quantities of tickets from Ticketmaster’s primary ticket sales
 17             website and resell these tickets for higher prices on its own resale
                platform.
 18
 19         33.    The Senators’ letter referred to allegations of “TradeDesk
 20   users moving up to several million tickets per year,” such that the alleged
 21   “harms to consumers made in this piece are serious and deserve immediate
 22   attention.
 23         34.    Based on the Senators’ “ongoing interest in protecting
 24   consumers from unfair and deceptive practices” and concern that
 25   Ticketmaster may have violated the Better Online Ticket Sales(BOTS) Act
 26   of 2016, they requested responses to the following questions:
 27
                   a. Describe the event ticket purchasing limits that Ticketmaster
 28                   currently employs for sales on its primary ticket sales platform.
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                      Additionally, how does the company identify computer
  1
                      programs used to circumvent these purchasing limits?
  2
                   b. Do Ticketmaster’s ticket purchasing limits and associated
  3
                      detection practices apply to users of its online program,
  4                   TradeDesk? If not, please explain.
  5
                   c. What are the specific rules and processes of compliance for
  6                   participating TradeDesk users as it relates to ticket purchasing
  7                   limits and other relevant consumer protection priorities? Please
                      share any documents and guidance materials that are provided
  8                   to TradeDesk users.
  9
                   d. What role does Ticketmaster’s Professional Reseller Handbook
 10                   play in deterring its resellers from engaging in illegal ticket
 11                   purchasing activities?

 12
            35.     By coordinating with professional reseller and leveraging its
 13
      domination of the Relevant Markets, Ticketmaster: (1) suppresses and prevents
 14
      competition from other participants in the secondary ticket marketplace; (2)
 15
      artificially manipulates supply and demand; (3) leverages its position in the
 16
      primary market to extend itself into the secondary ticket marketplace; and (4)
 17
      increases the prices of tickets for consumers on a massive scale.
 18
            36.     This conduct unreasonably restrains trade in the market for tickets by
 19
      artificially removing tickets from the primary market for sale at higher prices on
 20
      the secondary market, thus denying consumers’ access to tickets in the primary
 21
      market and requiring their purchase at inflated prices in the secondary market.
 22
            37.     By engaging in this anticompetitive conduct, Ticketmaster has
 23
      generated billions of dollars of revenue for itself at the expense of consumers.
 24
      Ticketmaster protects this revenue and its anticompetitive position by selectively
 25
      enforcing its prohibition on automated technologies and fake accounts against
 26
      resellers who do not participate in its scheme and who sell tickets on secondary
 27
      exchanges not controlled by Ticketmaster.
 28
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   1          38.      Ticketmaster also uses its monopoly power in the primary ticket
   2   market to improperly exclude competition in the secondary market by entering
   3   onto contracts with ticket suppliers and venues that require purchasers in the
   4   primary market to use only Ticketmaster exchanges for resale.
   5          39.      Plaintiff has been injured and has lost money and property as a result
   6   of Ticketmaster's practices, and brings his claim for public injunctive relief to
   7   prevent further harm to the public at large, which continues suffer harm as a result
   8   of Ticketmaster's widespread unlawful activity. Plaintiff seeks preliminary and
   9   permanent injunctions to prohibit the Ticketmaster's ongoing unlawful acts, which
  10   threaten future deception of, and injury to, the public.
  11          40.      To the extent that Ticketmaster asserts that any waiver of class action
  12   claims and/or enforcement of arbitration clause(s) are applicable to the allegations
  13   contained in this Complaint, Plaintiff will show that such provisions should not be
  14   enforceable upon Plaintiff as a result of Ticketmaster’s non-compliance with its
  15   own Terms of Use and/or are void as against public policy as a result of
  16   Ticketmaster’s fraudulent and/or or deceptive business practices to the detriment of
  17   consumers and the public.
  18          41.      Plaintiff's claims are timely and facts indicating that Ticketmaster
  19   was engaging in the misconduct alleged herein were actively concealed by
  20   Ticketmaster.
  21          42.      Plaintiff, on behalf of herself and a nationwide Class, seeks
  22   restitution, attorneys’ fees, and costs of suit.
  23     V.     RELEVANT MARKETS
  24          43.   The following markets are relevant to this case:
  25
                    a. All tickets to concerts and other live events throughout the United
  26                   States;
  27
                    b. The narrower market for the resale of those tickets throughout the
  28                   United States.
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   1
               44.   The markets for all tickets to concerts and other live events and the
   2
       narrower market of all resale tickets are collectively referred to as the “Relevant
   3
       Markets.”
   4
         VI.    CLASS ACTION ALLEGATIONS
   5
               45.    Under Rule 23 of the Federal Rules of Civil Procedure, plaintiff
   6
       seeks certification of a class (“Class”) defined as follows:
   7
   8             All end-user purchasers in the United States who purchased tickets
                 off a secondary ticket exchange wherein the tickets were first
   9
                 offered on Ticketmaster.com within the past three years from
  10             September 26, 2015 through September 26, 2018.
  11
               46.   Excluded from the Class are Defendants; the officers, directors
  12
       or employees of Defendants; any entity in which any Defendant has a
  13
       controlling interest; and any affiliate, legal representative, heir or assign of
  14
       Defendants. Also, excluded from the Class are any federal, state or local
  15
       governmental entities, any judicial officer presiding over this action and the
  16
       members of his/her immediate family and judicial staff, and any juror
  17
       assigned to this action.
  18
               47.   Numerosity. Fed. R. Civ. P. 23(a)(1). The Class is so
  19
       numerous that joinder of all members is unfeasible and not practicable. The
  20
       exact number of Class members is not known to Plaintiff at the present
  21
       time. However, based on the nature of the trade and commerce involved,
  22
       there appear to be hundreds of thousands if not millions of Class members
  23
       such that joinder of all Class members is impracticable.
  24
               48.   Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). There are
  25
       questions of law and fact common to the Class, which predominate over any
  26
       questions affecting only individual Class members. These common
  27
       questions of law and fact include, without limitation:
  28
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   1
             a. Whether Defendants permitted, facilitated, incentivized
   2            and/or encouraged the violations of its policies to increase
                resales on its secondary exchange causing Plaintiff and the
   3
                class to pay artificially inflated prices;
   4
   5         b. Whether such conduct violates the unlawful prong of
                section 17200;
   6
   7         c. Whether such conduct violates the unfair prong of section
                17200;
   8
   9         d. Whether such conduct caused Defendants’ unjust
                enrichment Class members’ expense; and
  10
  11         e. Whether restitution and/or injunctive relief should be
                provided to Class members as a result of Defendants’
  12            wrongful conduct.
  13
             49.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiff asserts claims
  14
       that are typical of the Class. Plaintiff and all Class members have been
  15
       subjected to the same wrongful conduct because they all have purchased
  16
       and paid more for Ticketmaster tickets on the secondary market after
  17
       Ticketmaster secretly permitted, facilitated, and/or actively encouraged the
  18
       violation of its policies and the sale of its tickets by scalpers on the
  19
       secondary market using its TradeDesk platform.
  20
             50.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4).
  21
       Plaintiff will fairly and adequately represent and protect the interests of the
  22
       Class. Plaintiff is represented by counsel competent and experienced in both
  23
       consumer protection and class action litigation.
  24
             51.    Superiority of Class Action. Fed. R. Civ. P. 23(b)(3). A class
  25
       action is superior to other available methods for the fair and efficient
  26
       adjudication of this controversy since joinder of all the members of the
  27
       Class is impracticable. Furthermore, the adjudication of this controversy
  28
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   1   through a class action will avoid the possibility of inconsistent and
   2   potentially conflicting adjudication of the asserted claims. In contrast, the
   3   conduct of this action as a class action presents far fewer management
   4   difficulties, conserves judicial resources and the parties’ resources, and
   5   protects the rights of each Class member. Furthermore, because the injury
   6   suffered by each individual Class member may be relatively small, the
   7   expense and burden of individual litigation would make it very difficult or
   8   impossible for individual Class members to redress the wrongs done to each
   9   of them individually and the burden imposed on the judicial system would
  10   be enormous. There will be no difficulty in the management of this action
  11   as a class action.
  12         52.    Injunctive and Declaratory Relief. Fed. R. Civ. P. 23(b)(2).
  13   Defendant’s misrepresentations are uniform as to all members of the Class.
  14   Defendant has acted or refused to act on grounds that apply generally to the
  15   Class, so that final injunctive relief or declaratory relief is appropriate with
  16   respect to the Class as a whole.
  17         53.    The Class is defined by objective criteria, and notice can be
  18   provided through techniques similar to those customarily used in other
  19   consumer fraud cases and complex class actions, including use of
  20   Defendants’ records of sale by third parties using its TradeDesk platform.
  21                               FIRST CAUSE OF ACTION
  22                        Violation of Cal. Bus. & Prof. Code § 17200
  23         54.      Plaintiff realleges and incorporates by reference all paragraphs
  24   alleged herein.
  25         55.      Plaintiff asserts this claim individually and on behalf of the
  26   nationwide Class.
  27         56.      Application of California law is appropriate given Defendants’
  28   headquarters are in California and key decisions regarding the TradeDesk platform

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   1   and related business practices described herein were presumably developed at their
   2   in-state headquarters, such that the unfair business practices described herein
   3   emanated from California.
   4         57.       Cal. Bus. & Prof. Code § 17200 prohibits unlawful and unfair
   5   business acts and practices. Defendants have engaged in unlawful and unfair
   6   business acts and practices in violation of the UCL as a result of the wrongful
   7   conduct alleged herein.
   8         58.       Defendants have violated the unlawful prong of section 17200,
   9   because the acts and practices set forth herein violate the Better Online Ticket Sales
  10   (BOTS) Act of 2016, 15 U.S.C.A. §45c. The BOTS Act states in subsection (a) (1)
  11   that it shall be unlawful for any person:
  12
                (A) to circumvent a security measure, access control system, or
  13            other technological control or measure on an Internet website or
                online service that is used by the ticket issuer to enforce posted
  14
                event ticket purchasing limits or to maintain the integrity of
  15            posted online ticket purchasing order rules; or
  16
                (B) to sell or offer to sell any event ticket in interstate commerce
  17            obtained in violation of subparagraph (A) if the person selling or
  18            offering to sell the ticket either--

  19            (i)     participated directly in or had the ability to control the
  20                    conduct in violation of subparagraph (A); or

  21            (ii)    knew or should have known that the event ticket was
  22                    acquired in violation of subparagraph (A).

  23
             59.       The BOTS Act also states in subsection (b) that any “violation of
  24
       subsection (a) shall be treated as a violation of a rule defining an unfair or a
  25
       deceptive act or practice under section18 (a)(1)(B) of the Federal Trade
  26
       Commission Act (15 U.S.C. 57a(a)(1)(B)).” For this reason, Defendants also
  27
       violate the unfair prong of section 17200.
  28
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   1         60.     Defendants have violated the unfair prong of section 17200, because
   2   the acts and practices set forth herein offend established public policies supporting
   3   honesty and fair dealing in consumer transactions, as well as the policy against the
   4   “circumvention of control measures used by Internet ticket sellers to ensure
   5   equitable consumer access to tickets for any given event,” as set forth in the BOTS
   6   Act. Defendants’ conduct as described herein is also unethical, oppressive,
   7   unscrupulous and injurious to consumers. The harm that these acts and practices
   8   cause greatly outweighs any benefits associated with them. And consumers could
   9   not have reasonably avoided the harm because they did not know that Ticketmaster
  10   permitted, facilitated, and/or encouraged professional resellers, or scalpers, to
  11   violate its policies and sell its tickets on Ticketmaster’s secondary market.
  12         61.     Plaintiff has suffered injury in fact, including loss of money, as a
  13   result of Defendants’ unfair practices. Plaintiff and members of the Class were
  14   directly and proximately injured by Defendants’ conduct and lost money as a result
  15   of Defendants’ conduct, because they paid more for Ticketmaster tickets on the
  16   secondary market and/or paid a cut that went to Ticketmaster after it secretly
  17   permitted, facilitated, incentivized and/or actively encouraged the sale of its tickets
  18   by professional resellers on the secondary market using its TradeDesk platform.
  19         62.     All of the wrongful conduct alleged herein occurred, and continues to
  20   occur, in the conduct of Defendants’ business. Defendants’ wrongful conduct is
  21   part of a general practice that is still being perpetuated and repeated throughout the
  22   State of California and the nation.
  23         63.    Plaintiff requests that this Court enter such orders or judgments as
  24   may be necessary to enjoin Defendants from continuing their unfair business
  25   practices, to restore to Plaintiff and members of the Class the money that
  26   Defendants acquired from them by this unfair competition, and to provide such
  27   other relief as set forth below.
  28         64.    Plaintiff requests an award of attorneys’ fees under Cal. Civ. Proc.

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   1   Code § 1021.5 for the benefit conferred upon the general public by any injunctive
   2   or other relief entered herein.
   3                              SECOND CAUSE OF ACTION
   4                     Violation of the California False Advertising Act
   5                     Business & Professions Code Section 17500, et seq.
   6            65.   Plaintiff re-alleges and incorporates by reference all paragraphs
   7   alleged herein.
   8            66.   Plaintiff asserts this claim on behalf of herself and the nationwide
   9   Class.
  10            67.   Through its marketing and advertising campaign, Defendants offered
  11   their services as both a primary ticket marketplace and secondary ticket
  12   marketplace platform for concerts and other live events throughout the United
  13   States, including California.
  14            68.   Defendants engaged in unfair, deceptive, untrue or misleading
  15   advertising related to their services as a primary ticket marketplace and as a
  16   secondary ticket marketplace platform.
  17            69.   Defendants disseminated or caused to be disseminated materially
  18   untrue and misleading advertising and/or marketing statements with the intent to
  19   either directly or indirectly induce members of the public, including Plaintiff and
  20   Class members, to purchase tickets to concerts and other live events through
  21   Ticketmaster’s primary ticket marketplace and secondary ticket marketplace,
  22   including, but not limited to, the facts that it specifically prohibits re-sellers from
  23   purchasing tickets that exceed the posted ticket limit for an event and prohibits the
  24   creation of fictitious user accounts for the purpose of circumventing ticket limit
  25   detection in order to amass tickets intended for resale, when in fact Defendants
  26   engage in affirmative conduct to allow, facilitate, and encourage scalpers to violate
  27   these policies and prevent consumers from receiving the alleged benefits.
  28            70.   Defendants disseminated or caused to be disseminated advertising

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   1   and/or marketing which omitted material information at the time of sale, including,
   2   but not limited to, the following:
   3
                     a. Defendants allow, facilitate, and encourage scalpers to purchase
   4                    tickets that exceed the posted ticket limit for an event;
   5
                     b. Defendants allow, facilitate, and encourage scalpers to create
   6                    fictitious user accounts for the purpose of circumventing ticket
   7                    limit detection in order to amass tickets intended for resale;

   8                 c. Defendants created the a custom-designed and web-based,
   9                    inventory management, sales and full point-of-sale system built
                        expressly for professional resellers which allows scalpers to ‘sync’
  10                    hundreds of Ticketmaster.com accounts and instantly upload
  11                    purchased event seats onto secondary ticket marketplace websites,
                        including Ticketmaster’s secondary ticket marketplace platforms;
  12
  13                 d. Defendants created an online tool that lets scalpers move any
                        verified Ticketmaster ticket from one account to another in order to
  14                    facilitate, and encourage scalpers to create fictitious user accounts
  15                    for the purpose of circumventing ticket limit detection in order to
                        amass tickets intended for resale
  16
  17                 e. Defendants incentivized scalpers to purchase tickets in bulk
                        through a series of rewards program with financial incentives;
  18
  19                 f. Defendants selectively enforced its rules and policies in an effort to
                        control and manipulate the secondary ticket marketplace; and
  20
  21                 g. Defendants profited from both the primary ticket market sales and
                        the secondary ticket marketplace Sales on its platforms.
  22
  23         71.     The misrepresentations and concealed or undisclosed facts are
  24   material. A reasonable person would have considered them to be important in
  25   deciding whether to purchase tickets to concerts and other live events from
  26   Defendants.
  27         72.     When Defendants disseminated the misleading statements and
  28   material omissions described above, they knew, or by exercise of reasonable care
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   1   should have known, that their statements were untrue and misleading in violation
   2   of the Fair Advertising Law, California Business & Professional Code Section
   3   17500 et seq.
   4         73.    Plaintiff, on behalf of herself and all others similarly situated,
   5   demands judgment against Defendants for restitution, disgorgement, injunctive
   6   relief, relief, and all other relief afforded under Business &Professions Code
   7   section 17500, plus interest, attorneys’ fees and costs.
   8                                 THIRD CAUSE OF ACTION
   9                    Per Se Violation of Section 1 of the Sherman Act
  10                                        15 U.S.C. § 1
  11         74.    Plaintiff realleges and incorporates by reference all paragraphs alleged
  12   herein.
  13         75.    As alleged herein, Ticketmaster by and through its officers, directors,
  14   employees, or representatives, entered into and engaged in an unlawful contract,
  15   combination, and conspiracy in restraint of trade and commerce and to affect the
  16   price of articles in trade, and acted in a combination of capital, skills, and/or acts to
  17   increase the price of merchandise, in violation of the Sherman Act, 15 U.S.C. § 1.
  18         76.    Plaintiff and the members of the Class are proper entities to bring a
  19   case concerning this conduct.
  20         77.    Ticketmaster's conduct as alleged herein unreasonably restrains trade
  21   and inflates prices in one or more of the relevant markets in violation of the
  22   Sherman Act.
  23         78.    Defendants anticompetitive conduct includes, but is not limited to:
  24   (1) using monopoly power in the primary ticket market to improperly exclude
  25   competition in the secondary market by entering onto contracts with ticket
  26   suppliers and venues that require purchasers in the primary market to use only
  27   Ticketmaster exchanges for resale; and (2) selectively enforcing its prohibition on
  28   automated technologies and ficticious accounts against resellers who do not

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   1   participate in its scheme and who sell tickets on secondary exchanges not
   2   controlled by Ticketmaster.
   3         79.    Plaintiff and the Class have suffered antitrust injury as a result of
   4   Ticketmaster's unlawful acts as herein alleged.
   5         80.    Ticketmaster's activities as alleged herein are per se violations of the
   6   Sherman Act.
   7         81.    Plaintiff seeks damages according to proof, which damages shall be
   8   automatically trebled pursuant to the Sherman Act.
   9         82.    Plaintiff seeks an injunction against further wrongful acts of
  10   Defendants pursuant to the Sherman Act.
  11         83.    Plaintiff is automatically entitled to reasonable attorney's fees
  12   pursuant to the Sherman Act.
  13         84.    Plaintiff is automatically entitled to his costs of suit pursuant to the
  14   Sherman Act.
  15                                FOURTH CAUSE OF ACTION
  16        Violation of Section 1 of the Sherman Act Under the Rule of Reason
  17                                           15 U.S.C. § 1
  18         85.    Plaintiff realleges and incorporates by reference all paragraphs alleged
  19   herein.
  20         86.    As alleged herein, Ticketmaster by and through its officers, directors,
  21   employees, or representatives, entered into and engaged in an unlawful contract,
  22   combination, and conspiracy in restraint of trade and commerce and to affect the
  23   price of articles in trade, and acted in a combination of capital, skills, and/or acts to
  24   increase the price of merchandise, in violation of the Sherman Act, 15 U.S.C. § 1.
  25         87.    Plaintiff and the members of the Class are proper entities to bring a
  26   case concerning this conduct.
  27         88.    Ticketmaster's conduct as alleged herein unreasonably restrains trade
  28   and inflates prices in one or more of the relevant markets in violation of the

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   1   Sherman Act.
   2         89.    Defendants anticompetitive conduct includes, but is not limited to: (1)
   3   using monopoly power in the primary ticket market to improperly exclude
   4   competition in the secondary market by entering onto contracts with ticket
   5   suppliers and venues that require purchasers in the primary market to use only
   6   Ticketmaster exchanges for resale; and (2) selectively enforcing its prohibition on
   7   automated technologies and fake accounts against resellers who do not participate
   8   in its scheme and who sell tickets on secondary exchanges not controlled by
   9   Ticketmaster.
  10         90.    Plaintiff and the Class have suffered antitrust injury as a result of
  11   Ticketmaster's unlawful acts as herein alleged.
  12         91.    Ticketmaster's activities as alleged herein are violations of the
  13   Sherman Act, under the rule of reason.
  14         92.    Plaintiff seeks damages according to proof, which damages shall be
  15   automatically trebled pursuant to the Sherman Act.
  16         93.    Plaintiff seeks an injunction against further wrongful acts of
  17   Defendants pursuant to the Sherman Act.
  18         94.    Plaintiff is automatically entitled to reasonable attorney's fees
  19   pursuant to the Sherman Act.
  20         95.    Plaintiff is automatically entitled to his costs of suit pursuant to the
  21   Sherman Act.
  22                                 FIFTH CAUSE OF ACTION
  23        Violation of Section 2 of the Sherman Act: Unlawful Monopolization
  24                                           15 U.S.C. § 2
  25         96.    Plaintiff realleges and incorporates by reference all paragraphs alleged
  26   herein.
  27         97.    Through the conduct described herein, Ticketmaster has willfully
  28   acquired and maintained monopoly power in the Relevant Markets.

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   1         98.    Defendants’ conduct constitutes the intentional and unlawful
   2   maintenance of monopoly power in each of the Relevant Markets, in violation of
   3   Section 2 of the Sherman Act, 15 U.S.C. § 2.
   4         99.    For the purpose of maintaining its monopoly power, Defendants
   5   committed numerous acts, including, but not limited to:
   6
                    a. Using its monopoly power in the Relevant Markets to exclude
   7
                       competition in the secondary market by entering onto contracts
   8                   with ticket suppliers and venues that require purchasers in the
                       primary market to use only Ticketmaster exchanges for resale; and
   9
  10                b. Selectively enforcing its prohibition on automated technologies
  11                   and fictitious accounts against resellers who do not participate in
                       its scheme and who sell tickets on secondary exchanges not
  12                   controlled by Ticketmaster.
  13
             100. Defendants have excluded competitors from the Relevant Markets and
  14
       have deprived consumers of the benefits of competition among suppliers of tickets
  15
       to concerts and other live events.
  16
             101. Defendants do not have a legitimate business purpose for any of its
  17
       anticompetitive conduct. Any claimed procompetitive benefit is pretextual in light
  18
       of the obvious competitive circumstances and associated marketplace conduct
  19
       inconsistent with any such benefit.
  20
             102. Defendants’ conduct does not result in any greater ability to reduce
  21
       costs to customers that could result in reduced prices, higher quality, or greater
  22
       availability to customers. Neither does Defendants’ conduct reduce barriers to
  23
       other vendors’ entry, or otherwise result in greater competition in the Relevant
  24
       Markets. The only “benefit” that flows from Defendants’ conduct is a reduction in
  25
       competition, and that benefit inures only to Defendants’ advantage, not to that of
  26
       customers or competition on the merits.
  27
  28
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   1         103. Defendants’ unlawful monopolization has injured competition in the
   2   Relevant Markets, suppressed sales of its competitors.
   3         104. Defendants’ overall course of conduct has and will continue to, inter
   4   alia, maintain supra-competitive prices to customers in the Relevant Markets.
   5                                 SIXTH CAUSE OF ACTION
   6       Violation of Section 2 of the Sherman Act: Attempted Monopolization
   7                                          16 U.S.C. § 2
   8         105. Plaintiff realleges and incorporates by reference all paragraphs alleged
   9   herein.
  10         106. Through the conduct described herein, Ticketmaster has willfully
  11   attempted to acquire and maintain monopoly power in the Relevant Markets.
  12         107. Defendants’ conduct constitutes the intentional and unlawful attempt
  13   to secured and maintain monopoly power in the Relevant Markets, in violation of
  14   Section 2 of the Sherman Act, 15 U.S.C. § 2.
  15         108. For the purpose of maintaining its monopoly power, Defendants
  16   committed numerous acts, including, but not limited to:
  17
                    a. Using its monopoly power in the primary ticket market to exclude
  18
                       competition in the secondary market by entering onto contracts
  19                   with ticket suppliers and venues that require purchasers in the
                       primary market to use only Ticketmaster exchanges for resale; and
  20
  21                b. Selectively enforcing its prohibition on automated technologies
  22                   and fictitious accounts against resellers who do not participate in
                       its scheme and who sell tickets on secondary exchanges not
  23                   controlled by Ticketmaster.
  24         109. Defendants have attempted to exclude competitors from the Relevant
  25   Markets and have tried to deprive consumers of the benefits of competition among
  26   suppliers of tickets to concerts and other live events.
  27         110. Defendants do not have a legitimate business purpose for any of its
  28   anticompetitive conduct. Any claimed procompetitive benefit is pretextual in light

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   1   of the obvious competitive circumstances and associated marketplace conduct
   2   inconsistent with any such benefit.
   3         111. Defendants’ conduct does not result in any greater ability to reduce
   4   costs to customers that could result in reduced prices, higher quality, or greater
   5   availability to customers. Neither does Defendants’ conduct reduce barriers to
   6   other vendors’ entry, or otherwise result in greater competition in the Relevant
   7   Markets. The only “benefit” that flows from Defendants’ conduct is a reduction in
   8   competition, and that benefit inures only to Defendants’ advantage, not to that of
   9   customers or competition on the merits.
  10         112. Throughout the time Defendants engaged in this exclusionary
  11   conduct, it had a dangerous probability of succeeding in gaining a monopoly in and
  12   controlling each of the Relevant Markets and excluding its competitors.
  13         113. Defendants’ unlawful attempts to destroy competition in the Relevant
  14   Markets, suppressed sales of its competitors.
  15         114. Defendants’ overall course of conduct has and will continue to, inter
  16   alia, maintain supra-competitive prices to customers in each of the Relevant
  17   Markets.
  18                           SEVENTH CAUSE OF ACTION
  19                         Per Se Violation of the Cartwright Act
  20                   California Business & Professions Code § 16720
  21         115. Plaintiff realleges and incorporates by reference all paragraphs alleged
  22   herein.
  23         116. As alleged herein, Ticketmaster by and through its officers, directors,
  24   employees, agents, or representatives, entered into and engaged in an unlawful
  25   contract, combination, and conspiracy in restraint of trade and commerce and to
  26   affect the price of articles in trade, and acted in a combination of capital, skills,
  27   and/ or acts to increase the price of merchandise, in violation of the Cartwright
  28   Act, California Business and Professions Code§ 16720.

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   1         117. Plaintiff and the members of the Class are proper entities to bring a
   2   case concerning this conduct.
   3         118. Ticketmaster's activities as alleged herein are per se violations of the
   4   Cartwright Act, California Business and Professions Code§ 16720.
   5         119. Plaintiff and the Class have suffered antitrust injury and have been
   6   injured in their business and property as a result of Ticketmaster's unlawful acts as
   7   herein alleged.
   8         120. Plaintiff seeks damages according to proof, which damages shall be
   9   automatically trebled pursuant to the Cartwright Act, California Business and
  10   Professions Code § 16750(a).
  11         121. Plaintiff seeks an injunction against further wrongful acts of
  12   Ticketmaster pursuant to the Cartwright Act, California Business and Professions
  13   Code § 16750(a).
  14         122. Plaintiff is automatically entitled to reasonable attorney's fees
  15   pursuant to the Cartwright Act, California Business and Professions Code§
  16   16750(a).
  17         123. Plaintiff is automatically entitled to his costs of suit pursuant to the
  18   Cartwright Act, California Business and Professions Code§ 16750(a).
  19
                                 EIGHTH CAUSE OF ACTION
  20               Violation of the Cartwright Act Under the Rule of Reason
  21                     California Business & Professions Code § 16720
  22         124. Plaintiff realleges and incorporates by reference all paragraphs alleged
  23   herein.
  24         125. As alleged herein, Ticketmaster by and through its officers, directors,
  25   employees, agents, or representatives, entered into and engaged in an unlawful
  26   contract, combination, and conspiracy in restraint of trade and commerce and to
  27   affect the price of articles in trade, and acted in a combination of capital, skills,
  28   and/or acts to increase the price of merchandise, in violation of the Cartwright Act,

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   1   California Business and Professions Code§ 16720.
   2         126. Plaintiff and the members of the Class are proper entities to bring a
   3   case concerning this conduct.
   4         127. Ticketmaster's conduct as alleged herein unreasonably restrains trade
   5   and inflates prices in one or more of the relevant markets in violation of the
   6   Cartwright Act, California Business and Professions Code§ 16720.
   7         128. Plaintiff and the Class have suffered antitrust injury as a result of
   8   Ticketmaster's unlawful acts as herein alleged.
   9         129. Plaintiff seeks damages according to proof, which damages shall be
  10   automatically trebled pursuant to the Cartwright Act, California Business and
  11   Professions Code § 16750(a).
  12         130. Plaintiff seeks an injunction against further wrongful acts of
  13   Ticketmaster pursuant to the Cartwright Act, California Business and Professions
  14   Code § 16750(a).
  15         131. Plaintiff is automatically entitled to reasonable attorney's fees
  16   pursuant to the Cartwright Act, California Business and Professions Code§
  17   16750(a).
  18         132. Plaintiff is automatically entitled to his costs of suit pursuant to the
  19   Cartwright Act, California Business and Professions Code § 16750(a).
  20                                NINTH CAUSE OF ACTION
  21                 Violation of the California Consumer Legal Remedies Act
  22                         California Civil Code Section 1750, et seq.
  23         133.    Plaintiff alleges and incorporates by reference all paragraphs alleged
  24   herein.
  25         134.    Plaintiff brings this cause of action on behalf of herself and on behalf
  26   of the Class members.
  27         135.    Plaintiff has standing to pursue this claim because she suffered injury
  28   in fact and lost money as a result of Defendants' actions. Specifically, Plaintiff

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   1   paid for live events ticket(s) for her own personal use. In doing so, she believed
   2   and relied upon the statements made by Defendants, including statements that
   3   Defendants specifically prohibits re-sellers from purchasing tickets that exceed the
   4   posted ticket limit for an event and prohibits the creation of fictitious user accounts
   5   for the purpose of circumventing ticket limit detection in order to amass tickets
   6   intended for resale.
   7         136.    The California Consumer Legal Remedies Act (“CLRA”) has
   8   adopted a comprehensive statutory scheme prohibiting various deceptive practices
   9   in connection with the conduct of a business providing goods, property, or services
  10   to consumers primarily for personal, family, or household purposes.
  11         137.    Defendants engaged in unfair methods of competition and unfair or
  12   deceptive acts or practices in a transaction with Plaintiff that resulted in the sale of
  13   tickets to Plaintiff and Plaintiff was harmed by Defendants’ conduct.
  14         138.    The transaction, policies, acts and practices engaged in by Defendants
  15   and alleged herein were intended to and did result in the sale of tickets to Plaintiff
  16   and Class members and violated the CLRA.
  17         139.    Defendants engaged in deceptive practices, in violation of CLRA,
  18   that were designed to induce Plaintiff and Class members to purchase the tickets to
  19   concerts and other live events.
  20         140.    Defendants' unfair or deceptive acts or practices occurred repeatedly
  21   in Defendants' trade or business.
  22         141.    In engaging in the foregoing unfair or deceptive conduct, Defendant
  23   misrepresented, concealed or failed to disclose to Plaintiff and Class members
  24   material facts about the tickets purchased that a reasonable person would have
  25   considered important in deciding whether to purchase or pay less for the tickets.
  26         142.    Plaintiff and class members suffered injury in fact and/or actual
  27   damages as a direct result of Defendants' misleading marketing campaign and/or
  28   concealment of material facts in violation of the CLRA.

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   1            143.   To this day, Defendants continue to violate the CLRA by making
   2   misrepresentations and concealing material facts relating to the tickets and both the
   3   primary ticket exchange and secondary ticket exchange.
   4            144.   As a result of the foregoing, Plaintiff and class members have had
   5   their legal rights infringed upon and have suffered irreparable harm, entitling them
   6   to injunctive relief.
   7            145.   Plaintiff seeks injunctive relief only for this violation of the CLRA,
   8   but reserves it right to amend this complaint to include allegations for the recovery
   9   of damages under the CLRA.
  10            146.   Plaintiff has made a demand in satisfaction of California Civil Code
  11   Section 1750, et seq. and may amend this Complaint to assert claims under the
  12   CLRA once the required notice period has elapsed.
  13            147.   In compliance with Cal. Civ. Code 1782(d), Plaintiff has executed the
  14   affidavit of venue attached hereto and filed concurrently herewith.
  15                               TENTH CAUSE OF ACTION
  16                     Violation of Common Law of Unjust Enrichment
  17            148.   Plaintiff realleges and incorporates by reference all paragraphs
  18   alleged herein.
  19            149.   Plaintiff asserts this claim on behalf of herself and the nationwide
  20   Class.
  21            150.   Application of California law is appropriate given Defendants’
  22   headquarters are in California and key decisions regarding the TradeDesk platform
  23   and related business practices described herein were presumably developed at their
  24   in-state headquarters, such that the wrongful conduct described herein emanated
  25   from California.
  26            151.   As alleged herein, fewer tickets are available on the primary ticket
  27   market because of Defendants’ conduct, including, but not limited to: (1) allowing
  28   scalpers to purchase tickets in bulk and/or in violation of Ticketmaster policies

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   1   from Ticketmaster’s primary market; (2) facilitating the scalpers’ schemes by
   2   creating systems like TradeDesk and Event Inventory; and (3) encouraging scalpers
   3   to do so with professional resale rewards programs.
   4         152.     Tickets are typically sold on the secondary market at a significant
   5   price increase over the price on the primary ticket market. Consumers purchasing
   6   on the secondary ticket marketplace pay the face value of the ticket, plus all
   7   Ticketmaster’s original fees, plus the professional resellers profit margin, plus all
   8   the additional fees charged by Defendants on Ticketmaster’s secondary ticket
   9   marketplace.
  10         153.     Defendants have benefitted and been enriched by their wrongful
  11   conduct. To the detriment of plaintiff and Class members, Defendants have and
  12   continue to be unjustly enriched as a result of the wrongful conduct alleged herein.
  13   Between the parties, it would be unjust for Defendants to retain the benefits
  14   attained by its wrongful actions.
  15         154.     Defendants have generated substantial revenue from the inequitable
  16   conduct described herein. Defendants have knowledge and appreciation of this
  17   benefit, which was conferred upon it by and at the expense of Plaintiff and the
  18   other Class members. Defendants have voluntarily accepted and retained this
  19   benefit.
  20         155.     Defendants should return to Plaintiff and Class members these ill-
  21   gotten gains resulting from their wrongful conduct alleged herein.
  22
  23                                 PRAYER FOR RELIEF
  24         WHEREFORE, plaintiff, individually and on behalf of all others similarly
  25   situated, respectfully requests that this Court enter a judgment against defendant
  26   and in favor of plaintiff and Class members, and grant the following relief:
  27
  28         a. Determine that this action may be maintained as a class action with

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   1            respect to the Class identified herein and certify it as such under Rules
   2            23(b)(2) and/or 23(b)(3), or alternatively certify all issues and claims that
   3            are appropriately certified, and designate and appoint Plaintiff as Class
   4            representative and her counsel as Class counsel;
   5
             b. Declare, adjudge, and decree the conduct of Defendants as alleged herein
   6            to be in violation of Cal. Bus. & Prof. Code § 17200 and the common law
                of unjust enrichment;
   7
   8         c. Enjoin Defendants from continuing their unlawful conduct;
   9
             d. Award Plaintiff and the Class restitution of all monies paid to Defendants
  10            as a result of their unlawful conduct;
  11
             e. Award plaintiff and the Class reasonable attorneys’ fees and costs; and
  12
  13         f. Award Plaintiff and the Class such other further and different relief as the
                nature of the case may require or as may be determined to be just,
  14            equitable, and proper by this Court.
  15
  16                                JURY TRIAL DEMAND
  17         Plaintiff, by counsel, requests a trial by jury for all claims so triable.
  18
  19
  20   Date: October 19, 2018                  AHDOOT & WOLFSON, PC

  21                                           s/ Alex R. Straus
  22                                           Alex R. Straus
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  23                                           Tina Wolfson
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                                    CLASS ACTION COMPLAINT
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